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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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STEPHEN PLUFF,

                     Petitioner,

               -v-                         9:18-CV-914

SUPERINTENDENT,

                     Respondent.

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APPEARANCES:                               OF COUNSEL:

STEPHEN PLUFF
Petitioner, Pro Se
09-A-4343
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Caller Box 119
Romulus, NY 14541

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DAVID N. HURD
United States District Judge

              ORDER ON REPORT & RECOMMENDATION

   On August 3, 2018, pro se petitioner Stephen Pluff (“petitioner”) filed this

action seeking a writ of habeas corpus pursuant to 28 U.S.C. § 2254. Dkt.

No. 1. Petitioner also filed a certified application to proceed in forma
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pauperis (“IFP”). Dkt. No. 2. Thereafter, the Court granted petitioner’s IFP

application and directed a response to petitioner’s arguments. Dkt. No. 9.

   On September 8, 2021, U.S. Magistrate Judge Daniel J. Stewart advised

by Report & Recommendation (“R&R”) that the petition be denied and

dismissed as untimely. Dkt. No. 28. Petitioner has filed objections. Dkt. No.

29. Upon de novo review of the portions to which petitioner has objected, the

Report & Recommendation is accepted and adopted in all respects. See 28

U.S.C. § 636(b)(1)(C).

   Therefore, it is

   ORDERED that

   1. The Report & Recommendation is ACCEPTED;

   2. The petition is DENIED and DISMISSED; and

   3. No certificate of appealability shall be issued.

   The Clerk of the Court is directed to terminate any pending motions, enter

a judgment accordingly, and close the file.

   IT IS SO ORDERED.


Dated: September 29, 2021
       Utica, New York.




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